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10   Attorneys for Plaintiffs, and all others similarly situated
                      UNITED STATES DISTRICT COURT FOR
11
                    THE CENTRAL DISTRICT OF CALIFORNIA
12
13   STEVE GALLION, individually and on )         Case No.
     behalf of all others similarly situated, )
14                                            )   CLASS ACTION
15   Plaintiff,                               )
                                              )   COMPLAINT FOR VIOLATIONS
16
            vs.                               )   OF:
17                                            )
     FITNESS 19 REDLANDS and DOES )                  1.      VIOLATIONS OF
18                                                           ELECTRONIC FUNDS
     1-10,                                    )              TRANSFER ACT [15 U.S.C.
19                                            )              §1693 ET SEQ.]
20   Defendant(s).                            )
                                              )   DEMAND FOR JURY TRIAL
21
                                              )
22         Plaintiff STEVE GALLION (“Plaintiff”), on behalf of himself and all
23   others similarly situated, alleges the following against Defendant FITNESS 19
24   REDLANDS upon information and belief based upon personal knowledge:
25
                                    INTRODUCTION
26
           1.     Plaintiff’s Class Action Complaint is brought pursuant to the
27
     Electronic Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”).
28
           2.     Plaintiff, individually, and on behalf of all others similarly situated,

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 1   brings this Complaint for damages, injunctive relief, and any other available legal
 2   or equitable remedies, resulting from the illegal actions of Defendants debiting
 3   Plaintiff’s and also the putative Class members’ bank accounts on a recurring
 4   basis without obtaining a written authorization signed or similarly authenticated
 5
     for preauthorized electronic fund transfers and/or after clear revocation of any
 6
     authorization or similar authentication for preauthorized electronic fund transfers
 7
     from Plaintiff’s and also the putative Class members’ accounts, thereby violating
 8
     Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of
 9
     Regulation E, 12 C.F.R. § 205.l0(b). Plaintiff alleges as follows upon personal
10
     knowledge as to himself and his own acts and experiences, and, as to all other
11
     matters, upon information and belief, including investigation conducted by his
12
     attorneys.
13
14
                               JURISDICTION AND VENUE

15         3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action

16   is brought pursuant to the EFTA, 15 U.S.C. 1693 et seq.
17         4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m),
18   which states that, “without regard to the amount in controversy, any action under
19   this section may be brought in any United States district court.”
20         5.     Venue and personal jurisdiction in this District are proper pursuant to
21   28 U.S.C. 1391(b) because Plaintiff resides within this District and Defendant
22   does or transact business within this District, and a material portion of the events
23   at issue occurred in this District.
24                                         PARTIES
25
           6.     Plaintiff, Steve Gallion (“PLAINTIFF”), is a natural person residing
26
     in San Bernardino County in the state of California, and is a “consumer” as
27
     defined by 15 U.S.C. §1693a(6).
28
           7.     At all relevant times herein, DEFENDANT, FITNESS 19

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 1   REDLANDS (“DEFENDANT”), was a company engaged in licensing use of its
 2   gym services to consumers.
 3            8.      The above named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7
     names.         Each of the Defendants designated herein as a DOE is legally
 8
     responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
 9
     Court to amend the Complaint to reflect the true names and capacities of the
10
     DOE Defendants when such identities become known.
11
              9.      Plaintiff is informed and believes that at all relevant times, each and
12
     every Defendant was acting as an agent and/or employee of each of the other
13
14
     Defendants and was acting within the course and scope of said agency and/or

15   employment with the full knowledge and consent of each of the other

16   Defendants.       Plaintiff is informed and believes that each of the acts and/or
17   omissions complained of herein was made known to, and ratified by, each of the
18   other Defendants.
19                            FACTUAL ALLEGATIONS - EFTA
20            10.     Prior to July of 2017, Plaintiff went into Defendant’s gym facility
21   and agreed to provide his debit card information in exchange for a one month
22   trial.
23            11.     Plaintiff never agreed to pay and Defendant represented that
24   Plaintiff would not need to pay recurring monthly payments.
25
              12.     However, despite Plaintiff’s lack of authorization, Defendant began
26
     withdrawing funds from Plaintiff’s account every month.
27
              13.     Plaintiff contacted Defendant and unequivaclly informed to cease
28
     debiting his account.

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 1         14.    Yet, despite clear revocation of any authorization to do so and
 2   without any authorization to begin with, Defendant continued to deduct funds
 3   from Plaintiff’s account multiple times on a reoccurring basis, without Plaintiff’s
 4   consent or authorization.
 5
           15.    Plaintiff never provided Defendant with any authorization to deduct
 6
     these sums of money on a regular recurring basis from Plaintiff’s banking
 7
     account.
 8
           16.    Defendants did not provide to Plaintiff, nor did Plaintiff execute,
 9
     any written or electronic writing memorializing or authorizing these recurring or
10
     automatic payments.
11
           17.    Plaintiff alleges such activity to be in violation of the Electronic
12
     Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”), and its surrounding
13
14
     regulations, including, but not limited to, 12 C.F.R. §§1005.7, 1005.8, and

15   1005.9.

16                         CLASS ACTION ALLEGATIONS
17         18.    Plaintiff brings this action on behalf of himself and all others
18   similarly situated, as a member of the proposed class (hereafter “The Class”)
19   defined as follows:
20                All persons in the United States whose bank accounts
                  were debited on a reoccurring basis by Defendants
21                without Defendants obtaining a written authorization
22                signed or similarly authenticated for preauthorized
                  electronic fund transfers within the one year prior to the
23
                  filing of this Complaint.
24
           19.    Plaintiff represents, and is a member of, The Class, consisting of all
25
     persons within the United States whose bank account was debited on a recurring
26
     basis by Defendants without Defendants obtaining a written authorization signed
27
     or similarly authenticated for preauthorized electronic fund transfers within the
28



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 1   one year prior to the filing of this Complaint.
 2         20.    Plaintiff brings this action on behalf of himself and all others
 3   similarly situated, as a member of the proposed class (hereafter “The Revocation
 4   Class”) defined as follows:
 5                All persons in the United States whose bank accounts
                  were debited on a reoccurring basis by Defendants after
 6
                  that person revoked authorization for preauthorized
 7                electronic fund transfers within the one year prior to the
 8                filing of this Complaint.
 9         21.    Plaintiff represents, and is a member of, The Revocation Class,
10   consisting of all persons in the United States whose bank accounts were debited
11   on a reoccurring basis by Defendants after that person revoked authorization for
12   preauthorized electronic fund transfers within the one year prior to the filing of
13   this Complaint.
14         22.    The Class and the Revocation Class shall collectively be referred to
15   as “The Classes.”
16         23.    Defendants, their employees and agents are excluded from The
17   Classes. Plaintiffs do not know the number of members in The Classes, but
18
     believe the Class members number in the hundreds, if not more. Thus, this
19
     matter should be certified as a Class Action to assist in the expeditious litigation
20
     of the matter.
21
           24.    The Classes are so numerous that the individual joinder of all of its
22
     members is impractical. While the exact number and identities of The Class
23
     members are unknown to Plaintiff at this time and can only be ascertained
24
     through appropriate discovery, Plaintiff is informed and believes and thereon
25
     alleges that The Classes includes hundreds, if not thousands, of members.
26
27   Plaintiff alleges that The Class members may be ascertained by the records

28   maintained by Defendants.



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 1         25.    This suit is properly maintainable as a class action pursuant to Fed.
 2   R. Civ. P. 23(a) because the Classes are so numerous that joinder of the Class
 3   members is impractical and the disposition of their claims in the class action will
 4   provide substantial benefits both to the parties and to the Court.
 5
           26.    There are questions of law and fact common to the Class affecting
 6
     the parties to be represented.     The questions of law and fact to the Class
 7
     predominate over questions which may affect individual Class members and
 8
     include, but are not necessarily limited to, the following:
 9
           a.     The members of the Classes were not provided with, nor did they
10
     execute, written agreements memorializing the automatic or recurring electronic
11
     payments.
12
           b.     Defendants did not request, nor did it provide, Class members with
13
14
     written agreements memorializing the automatic or recurring electronic

15   payments.

16         c.     The members of the Class did not provide either a written (“wet”) or
17   otherwise electronic signature authorizing the automatic or recurring electronic
18   payments.
19         d.     Despite not providing written or electronic authorization for
20   payments to be drawn from their accounts, Defendants took unauthorized
21   payments from Class members’ accounts.
22         27.    There are questions of law and fact common to the Revocation Class
23   affecting the parties to be represented. The questions of law and fact to the
24   Revocation Class predominate over questions which may affect individual
25
     Revocation Class members and include, but are not necessarily limited to, the
26
     following:
27
           a.     The members of the Revocation Class revoked any authorization for
28
     the automatic or recurring electronic payments.

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 1         b.     Despite having revoked authorization for payments to be drawn
 2   from their accounts, Defendant took unauthorized payments from Revocation
 3   Class members’ accounts.
 4         28.    As someone whose bank account was debited on a reoccurring basis
 5
     by Defendant without Defendant obtaining a written authorization signed or
 6
     similarly authenticated for preauthorized electronic fund transfers and had
 7
     revoked any authorization that Defendant may have had, Plaintiff is asserting
 8
     claims that are typical of The Classes.
 9
           29.    Plaintiff will fairly and adequately protect the interests of the
10
     members of The Classes. Plaintiff has retained attorneys experienced in the
11
     prosecution of class actions.
12
           30.    A class action is superior to other available methods of fair and
13
14
     efficient adjudication of this controversy, since individual litigation of the claims

15   of all Class members is impracticable. Even if every Class member could afford

16   individual litigation, the court system could not. It would be unduly burdensome
17   to the courts in which individual litigation of numerous issues would proceed.
18   Individualized litigation would also present the potential for varying, inconsistent,
19   or contradictory judgments and would magnify the delay and expense to all
20   parties and to the court system resulting from multiple trials of the same complex
21   factual issues. By contrast, the conduct of this action as a class action presents
22   fewer management difficulties, conserves the resources of the parties and of the
23   court system, and protects the rights of each Class member.
24         31.    The prosecution of separate actions by individual Class members
25
     would create a risk of adjudications with respect to them that would, as a practical
26
     matter, be dispositive of the interests of the other Class members not parties to
27
     such adjudications or that would substantially impair or impede the ability of such
28
     non-party Class members to protect their interests.

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 1         32.    Defendants have acted or refused to act in respects generally
 2   applicable to The Class, thereby making appropriate final and injunctive relief
 3   with regard to the members of the Class as a whole.
 4         33.    Defendants failed to comply with the writing and notice
 5
     requirements of § 907(a) of the EFTA, 15 U.S.C. § 1693e(a) as to the Class
 6
     members with respect to the above alleged transactions.
 7
           34.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a
 8
     “preauthorized electronic fund transfer from a consumer’s account may be
 9
     authorized by the consumer only in writing, and a copy of such authorization
10
     shall be provided to the consumer when made.”
11
           35.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
12
     term “preauthorized electronic fund transfer” means “an electronic fund transfer
13
14
     authorized in advance to recur at substantially regular intervals.”

15         36.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides

16   that “[p ]reauthorized electronic fund transfers from a consumer’s account may be
17   authorized only by a writing signed or similarly authenticated by the consumer.
18   The person that obtains the authorization shall provide a copy to the consumer.”
19         37.    Section 205.10(b) of the Federal Reserve Board's Official Staff
20   Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
21   authorization process should evidence the consumer’s identity and assent to the
22   authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
23   provides that “[a]n authorization is valid if it is readily identifiable as such and
24   the terms of the preauthorized transfer are clear and readily understandable.” Id.
25
     at ¶10(b), comment 6.
26
           38.    In multiple instances, Defendant debited bank accounts of the Class
27
     members on a recurring basis without obtaining a written authorization signed or
28
     similarly authenticated by the respective Class members for preauthorized

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 1   electronic fund transfers from the accounts of the respective Class members,
 2   thereby violating § 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
 3   205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
 4         39.    In multiple instances, Defendant debited Class members’ bank
 5
     accounts on a recurring basis without providing a copy of a written authorization
 6
     signed or similarly authenticated by the respective Class members for
 7
     preauthorized electronic funds transfers, thereby violating Section 907(a) of the
 8
     EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. §
 9
     205.l0(b).
10
           40.    In multiple instances, Defendant debited Class members’ bank
11
     accounts on a recurring basis after Class members revoked consent to such debits,
12
     thereby violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
13
14
     205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).

15         41.    The size and definition of the Classes can be identified through

16   Defendant’s records and/or Defendant’s agents’ records.
                                      COUNT I:
17
      DEFENDANTS VIOLATED THE ELECTRONIC FUNDS TRANSFER
18                                       ACT
19
                         (On Behalf of Plaintiff and the Class)

20
           42.    Plaintiff reincorporates by reference all of the preceding paragraphs.

21         43.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a

22   “preauthorized electronic fund transfer from a consumer’s account may be
23   authorized by the consumer only in writing, and a copy of such authorization
24   shall be provided to the consumer when made.”
25         44.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
26   term “preauthorized electronic fund transfer” means “an electronic fund transfer
27   authorized in advance to recur at substantially regular intervals.”
28         45.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides


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 1    that “[p] reauthorized electronic fund transfers from a consumer’s account may be
 2    authorized only by a writing signed or similarly authenticated by the consumer.
 3    The person that obtains the authorization shall provide a copy to the consumer.”
 4          46.    Section 205.10(b) of the Federal Reserve Board's Official Staff
 5
      Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
 6
      authorization process should evidence the consumer’s identity and assent to the
 7
      authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
 8
      provides that “[a]n authorization is valid if it is readily identifiable as such and
 9
      the terms of the preauthorized transfer are clear and readily understandable.” Id.
10
      at ¶10(b), comment 6.
11
            47.    In multiple instances, Defendant has debited Plaintiff’s and also the
12
      putative Class members’ bank accounts on a recurring basis without obtaining a
13
14
      written authorization signed or similarly authenticated for preauthorized

15    electronic fund transfers from Plaintiff’s and also the putative Class members’

16    accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a),
17    and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
18          48.    In multiple instances, Defendant has debited Plaintiff’s and also the
19    putative Class members’ bank accounts on a recurring basis without providing a
20    copy of a written authorization signed or similarly authenticated by Plaintiff or
21    the putative Class members for preauthorized electronic fund transfers, thereby
22    violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
23    205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
24          49.    In multiple instances, Defendant has debited Class members’ bank
25
      accounts on a recurring basis after Class members revoked consent to such debits,
26
      thereby violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
27
      205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
28
      ///

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 1                                 PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff, STEVE GALLION, individually, and on behalf
 3    of all others similarly situated, respectfully requests judgment be entered against
 4    Defendant, FITNESS 19 REDLANDS, for the following:
 5
            50.    That this action be certified as a class action on behalf of The Class
 6
      and Plaintiff be appointed as the representative of The Class;
 7
            51.    Statutory damages of $1,000.00, per Class Member, pursuant to the
 8
      Electronic Fund Transfer Act, §916(a)(2)(A);
 9
            52.    Actual damages;
10
            53.    Costs and reasonable attorneys’ fees pursuant to the Electronic Fund
11
      Transfer Act, §916(a)(3);
12
            54.    For prejudgment interest at the legal rate; and
13
14
            55.    Any other relief this Honorable Court deems appropriate.

15                                      TRIAL BY JURY

16          56.    Pursuant to the seventh amendment to the Constitution of the United
17    States of America, Plaintiff is entitled to, and demands, a trial by jury.
18
                   Respectfully submitted this 5th day of September, 2017.
19
20
                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
21
22
                                  By:   /s/ Todd M. Friedman
23                                      Todd M. Friedman
24                                      Law Offices of Todd M. Friedman
                                        Attorney for Plaintiff
25
26
27
28



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